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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

GENE DUROCHER, Individually, PHILLIP            §
GOBE, Individually, JOSEPH McCOY,               §
Individually, STEPHEN M. ORR,                   §
Individually, PAMELA PIERCE, Individually,      §
and GORDON THOMSON, Individually,               §
               Plaintiffs,                      §
                                                §
VS.                                             §   Civil Action No. 4:25-cv-00757
                                                §
GRETCHEN M. VAN STEENWYK-                       §
MARSH, Individually, and MATTHEW D.             §
VAN STEENWYK, Individually, as Trustee          §
and   § Beneficiary of The Matthew Van          §
Steenwyk GST Trust and The Matthew Van          §
Steenwyk Issue Trust, and as Co-Trustee of      §
The Gretchen Marie Van Steenwyk-Marsh           §
GST Trust and The Gretchen Marie Van            §
Steenwyk-Marsh Issue Trust,                     §
              Defendants,                       §
                                                §
APPLIED TECHNOLOGIES ASSOCIATES,                §
INC., and SCIENTIFIC DRILLING                   §
INTERNATIONAL, INC.,                            §
             Nominal Defendants.                §


 DEFENDANTS’ MOTION TO DISMISS UNDER RULES 12(b)(2), 12(b)(3), 12(b)(6),
  and 28 U.S.C. § 1406(a), OR, IN THE ALTERNATIVE, TO TRANSFER VENUE
                            UNDER 28 U.S.C. § 1404(a)
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INTRODUCTION

        “[A] suit for declaratory judgment aimed solely at wresting the choice of forum from

the ‘natural’ plaintiff will normally be dismissed.” Serv. Corp. Int’l v. Loewen Grp. Inc., 1996

WL 756808, at *2 (S.D. Tex. 1996) (Rainey, J.) (cleaned up). That is exactly what is happening

here, and dismissal is precisely what should happen.

        In short, company directors (Plaintiffs in this case) who lost a trial in the Central District

of California filed this declaratory relief action in Texas to escape California and choose a new

forum. Since this action was filed, the federal judge in the California case has decided the very

issue at stake in this Texas action.

        The California court’s recent decision followed five years of litigation, at the end of

which directors were tried and found liable for breaching fiduciary duties they owed to (i) the

two companies they served and (ii) the minority shareholders in those companies, Matthew

and Gretchen Van Steenwyk (“Matthew” and “Gretchen”).

        In that California case, Matthew also sought an injunction prohibiting the companies

from paying the directors’ attorneys’ fees. Two weeks ago, the California trial judge held:

                “[H]aving considered the totality of the circumstances and
                finding every factor favors a permanent injunction, GRANTS
                the Motion in this regard and ENJOINS ATA, SDI, and ATA
                Ranches from paying, advancing, or reimbursing any attorney’s
                fees or costs incurred by [the Directors].”

(Declaration of Matthew Donald Umhofer in Support of Defendants’ Motion to Dismiss

(“Decl.”), Ex. C.)

        This Court can “dismiss a declaratory judgment or injunctive suit if the same issue is

pending in litigation elsewhere.” Abbott Labs. v. Gardner, 387 U.S. 136, 155 (1967). And

where forum shopping is afoot, dismissal is the proper remedy. Mission Ins. Co. v. Puritan




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Fashions Corp., 706 F.2d 599, 602 & n.3 (5th Cir. 1983) (dismissal of declaratory relief action

affirmed where there were “indications that forum-shopping was an element in this case”).

         Dismissal is all the more warranted because this case seeks to compound the injury to

the companies by forcing them to spend millions more to defend the directors’ breaches of

fiduciary duties to those same companies. This Court should not permit the directors to game

things to such an improper end. This case should be dismissed.

 I.      BACKGROUND

         A.     The Directors Lose the California Case

         The directors’ filing of this case follows a series of fundamental fiduciary failures.

Those failures occurred when the directors sat on the boards of two related oil-drilling

companies—Scientific Drilling International, Inc. (SDI) and Applied Technology Associates,

Inc. (ATA)—from 2012 to the present. In short, the directors oversaw a multi-year scheme to

spend millions of SDI and ATA dollars to subsidize a winery that was owned and controlled by

the controlling shareholders of SDI and ATA, Elizabeth and Kedrin Van Steenwyk.

         The directors’ facilitation of that scheme led Matthew Van Steenwyk, a 25 percent

minority shareholder of both SDI and ATA, to file a federal lawsuit in 2020 leveling direct and

derivative claims against the directors, officers, and controlling shareholders of SDI and ATA

(the “2020 California Case”). (Decl., Ex. D.) On summary judgment, the district court found

that the controlling shareholders breached their fiduciary duties, and a jury then found the

directors, officers, and controlling shareholders liable for breaching their fiduciary duties to

Matthew and the companies. (Decl. Ex. E.) The jury awarded over $21 million to Matthew and

the companies. (Decl., Exs. F, G.)

         Following his trial win, Matthew submitted briefing on his request for entry of




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judgment on his equitable claims, which included a request to bar SDI and ATA from

indemnifying and advancing fees to the directors. (Decl., Exs. H-L.) The matter was fully

briefed and taken under submission in December 2024. (Decl., Ex. M.) In opposing that

motion, the directors made the very same substantive arguments articulated in the Petition in

this case—but at no point did the directors contend that the California court lacked jurisdiction

over the issue or that it had to be heard in Texas.

       Nevertheless, months after that motion for equitable relief was taken under submission

by the district court in California, the directors filed this case in Texas state court, (the

“Petition”) seeking to upend Matthew’s pending motion for equitable relief. Matthew and

Gretchen removed the case to this Court.

       Very recently, the district court in California issued an order that prohibited SDI and

ATA from paying the directors’ attorneys’ fees. (Decl., Ex. C.) In reaching that decision, the

court observed:

   •   “Plaintiff proved during summary judgment and at trial that Defendants breached their

       fiduciary duties to the Companies, and, thus, Defendants will have to reimburse the

       Companies for costs advanced, barring the reversal of the jury’s verdict.” (Id. at 26.)

   •   “Defendants do not appear to be financially capable of reimbursing those costs because,

       like in Johnson, they have retained several expensive attorneys who are raising a

       vigorous defense.” (Id.)

   •   “‘Poor leadership is destructive to a company in ways that may not be compensated by

       monetary damages, such as weak[ening] the company’s value.’ The court agrees. the

       public has a strong interest in ensuring Defendants cannot cause the Companies further

       harm by having to pay for Defendants’ litigation costs.” (Id. at 27)




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    •   “[C]ontrary to Defendants’ position, the public has a strong interest in ensuring

        Defendants cannot cause the Companies further harm by having to pay for Defendants’

        litigation costs.” (Id. at 30.)

    •   “[H]aving considered the totality of the circumstances and finding every factor favors

        a permanent injunction, GRANTS the Motion in this regard and ENJOINS ATA, SDI,

        and ATA Ranches from paying, advancing, or reimbursing any attorney’s fees or costs

        incurred by Defendants.” (Id.)

Directors insist in this case that they “are entitled to advancement in connection with the

California Lawsuits at least until all appeals are exhausted.” (Petition at 17.) But this is

precisely what the California court has now prohibited. 1

        B.       The Directors Seek to Escape California and Shop for a Different Forum

        This brings us to the present case. The directors concede all of the relevant facts in the

Petition:

        1.      The 2020 California Case was filed first. (Petition at 49.)

        2.      On August 30, 2024, Matthew and Gretchen filed a second federal action in the

United States District Court for the Central District of California (the “2024 California Case”),

alleging that from 2020 to 2024, while the California case filed in 2020 was pending, the

directors and officers of SDI and ATA had engaged in breaches of fiduciary duty similar to

those alleged in the 2020 California Case. (Decl., Ex. N.) The 2024 California Case, which

includes four of the six named plaintiffs in this case (McCoy, Orr, Pierce, and Thomson), seeks,

among other relief, an injunction preventing advancement of fees and indemnification of



1
  The directors in the California case recently filed an ex parte application in the California
court and an emergency motion with the Ninth Circuit to stay the injunction on the payment of
attorneys’ fees. (Decl., Exs. P, Q.)


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plaintiffs.

        3.     This case was filed nearly five years after the 2020 California Case, and six

months after the 2024 California Case were filed. (Decl., Ex. O.)

        4.     The subject matter of and the parties involved in the instant action and the

California Cases completely overlap:

               a.      In the 2020 California Case, Matthew sought equitable relief prohibiting

        the indemnification of and advancement of legal fees for the director defendants found

        liable for breaching fiduciary duties. (Petition ¶ 5 (“[Matthew] challenged the right to

        indemnification of Directors Pierce, McCoy, Gobe, and Durocher. Matthew

        subsequently supplemented that request to also oppose their right to advancement.”)

               b.      “On August 29, 2024, Matthew and Gretchen filed a second lawsuit

        against Directors Pierce, McCoy, Thomson, and Orr…. While the operative complaint

        largely rests on allegations that stem from and overlap with those at issue in the 2020

        lawsuit, it also alleges that ATA’s and SDI’s continued payment for counsel in

        connection with the California Lawsuits pursuant to the Indemnification

        Agreements constitutes waste and a breach of fiduciary duty.” (Petition ¶ 58.)

        (emphasis added).

               c.      In the Texas case, the directors found liable for breaches of fiduciary

        duty seek an order concerning the indemnification of the directors and the advancement

        of their fees. (Petition ¶ 68 (“a. The Directors are entitled to advancement in

        connection with the California Lawsuits at least until all appeals are exhausted; b.

        Any challenge to the Directors’ legal rights under the Indemnification Agreements must

        be brought in Texas; c. The Directors are entitled to a determination by ATA and SDI




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        as to whether they will be indemnified for costs in connection with actions brought

        by Matthew and Gretchen once all appeals are exhausted.”) (emphasis added).)

It is indisputable that the directors have filed a case in Texas that seeks a determination of the

very same issue presented and regarding the same parties in California cases filed in 2020 and

2024.

        One final, telling fact: the directors are desperate to have their attorneys’ fees covered

by the companies because after they lost the California trial, they fired their insurance-funded

trial counsel and hired a team of lawyers from a high-priced New York firm. (Decl., Ex. C at

26:12-14 (“Defendants do not appear to be financially capable of reimbursing those costs

because, like in Johnson, they have retained several expensive attorneys who are raising a

vigorous defense.”).) In fact, the directors have conceded in a recent filing to the Ninth Circuit

that they hired lawyers that they can only afford if they are paid for by the companies to which

they breached their fiduciary duties.

 II.    ARGUMENT

        Defendants move to dismiss this action under Federal Rule of Civil Procedure 12(b)(6)

because the action seeks declaratory relief regarding a matter already pending and subject to

the jurisdiction of the U.S. District Court for the Central District of California; under Rule

12(b)(2), because the directors have not pled and cannot establish personal jurisdiction over

the Defendants; and under Rule 12(b)(3), because venue is improper as to both non-resident

Defendants. In the alternative, Defendants request to transfer venue to the Central District of

California pursuant to Rule 12(b)(3) and 28 U.S.C. § 1404(a).

        A.     This Court Can Dismiss a Forum Shopping Declaratory Relief Action

        “[D]istrict courts have discretion on whether to consider declaratory judgment actions.”




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Rowan Cos., Inc. v. Griffin, 876 F.2d 26, 28–29 (5th Cir. 1989) (quoting Hollis v. Itawamba

Cty. Loans, 657 F.2d 746, 750 (5th Cir. 1981)). “A court may even in its discretion dismiss a

declaratory judgment or injunctive suit if the same issue is pending in litigation elsewhere.”

Abbott Labs v. Gardner, 387 U.S. 136, 155 (1967); see also BHP Petroleum Co. Inc. v. Millard,

800 S.W.2d 838, 841 (Tex. 1990) (“The Declaratory Judgments Act is ‘not available to settle

disputes already pending before a court.’”). Because the issue presented by this declaratory

relief action has already been decided in California, this case must be dismissed.

       In the Fifth Circuit, dismissals of declaratory judgment cases have been held to be

appropriate “(1) when there is a currently pending state court proceeding in which the matters

in controversy between the parties may be fully litigated; (2) when the complaint was filed in

anticipation of another suit and is being used for the purpose of forum shopping; (3) when there

are possible inequities in permitting the plaintiff to gain precedence in time and forum; and (4)

when not dismissing would result in inconvenience to parties and witnesses.” LEAM Drilling

Sys., LLC v. C&J Spec Rent Servs., Inc., No. CV H-19-00411, 2019 WL 1084039, at *3 (S.D.

Tex. Mar. 7, 2019) (citing Rowan Cos., 876 F.2d at 29).

       Each and every one of these circumstances is present in this case. There is a currently

pending California proceeding in which the indemnification issue has been fully litigated, and

the court in that proceeding decided the issue adversely to the directors. Critically,

               courts have held that a declaratory claim should be dismissed if
               it was filed for the purpose of anticipating a trial of the same
               issues in a court of coordinate jurisdiction. The Court cannot
               allow a party to secure a more favorable forum by filing an
               action for declaratory judgment when it has notice that the other
               party intends to file suit involving the same issues in a different
               forum.… The Court should not allow this type of forum
               shopping in the form of anticipatory, declaratory judgment suits.

909 Corp. v. Vill. of Bolingbrook Police Pension Fund, 741 F. Supp. 1290, 1292 (S.D. Tex.



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1990). This is all the more true where a party is already in litigation in one forum, anticipates

an adverse decision, and flees the existing forum for another, which is precisely what has

happened here. The directors openly admit that the very issue upon which they seek declaratory

relief was “currently pending” when they filed their complaint. (Petition ¶ 53 (“Matthew’s

request for entry of judgment on his equitable claims remains pending before the California

court.”).) The decision that was pending has now been made, yet the directors want it made

again in another forum.

       “‘[F]orum-shopping’ is defined as ‘[t]he practice of choosing the more favorable

jurisdiction or court in which a claim might be heard.’” Tavener v. Johnson & Johnson, No.

519CV0459GTSTWD, 2019 WL 2754423, at *11 (N.D.N.Y. July 2, 2019) (citing Black’s Law

Dictionary 726 (9th ed. 2009)). This is what the directors have done here: chosen Texas as a

potentially more favorable jurisdiction for their efforts to ensure that SDI and ATA continue to

pay their attorneys’ fees. Indeed, the directors’ conduct evinces “two characteristics of that

practice”: (1) “choosing a particular jurisdiction” and (2) “being motivated by a belief that the

particular jurisdiction (which is located in the state of [SDI’s] incorporation) will be more

favorable to them than a court located in the state”—California—in which the issue has already

been presented and decided. Id.

       Forum shopping like this has led the Fifth Circuit to expressly affirm the dismissal of

declaratory relief actions. Pontchartrain Partners, L.L.C. v. Tierra de Los Lagos, L.L.C.,

involved strikingly similar facts: one party first sued its opponent in one state, and the opponent

then sued in another. 48 F.4th 603 (5th Cir. 2022). The district court dismissed, and the Fifth

Circuit affirmed because the opponent “attempted to preempt the proper plaintiff’s forum

choice.” Id. at 606. Here, the directors admit that Matthew filed both California Cases prior to




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this action, yet still attempt to deny Matthew a forum he chose five years ago, to which the

directors never objected. Pontchartrain Partners thus counsels in favor of dismissal.

       The same result was reached in Mission Insurance Co. v. Puritan Fashions Corp., 706

F.2d 599 (5th Cir. 1983). There, one party delayed an opponent’s filing in California and filed

for declaratory relief in their preferred forum, Texas. The district court dismissed, and the Fifth

Circuit affirmed, noting that “[t]here are indications that forum-shopping was an element in

this case,” because the party that filed in Texas believed the law was better for them there. Id.

at 602 n.3. Similarly, here, a group of company directors who lost a trial and several motions

in California are seeking refuge in a forum they hope will be more favorable. Because the

directors are forum shopping, their case must be dismissed.

       B.      The Trejo Factors Demand Dismissal

       In similar circumstances, courts in the Fifth Circuit consider the seven “Trejo factors”

when determining whether to dismiss a declaratory relief action. St. Paul Ins. Co. v. Trejo, 39

F.3d 585 (5th Cir. 1994). Every factor favors dismissal here:

       1.      It is undisputed that “there is a pending … action in which all of the matters

in controversy may be fully litigated”—in fact, all the matters in this declaratory relief action

have already been litigated in federal court in California. And as in Mission Insurance, the

directors here “do[] not dispute the fact that the California suit will completely settle the

disputed issues.” Mission Ins., 706 F.2d at 603. Indeed, the California court has already made

a decision that settles the issues in favor of Matthew and Gretchen.

       2.      The directors “filed suit in anticipation of a lawsuit filed by the

defendant”—specifically, in anticipation of a then-“currently pending” (and now-issued)

decision concerning the directors’ attorneys’ fees in the 2020 California case filed by a




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defendant in this case, Matthew Van Steenwyk. (Supra, § IA.)

       3.      The directors “engaged in forum shopping in bringing the suit” here in

Texas. As noted above, Supra § IB., the defendants are forum shopping here—they openly seek

to have a court in one forum to decide an issue that was fully briefed and decided by a court in

another forum. Indeed, the directors say the proverbial quiet part out loud by explicitly seeking

a declaratory judgment limiting the California court’s power to decide the advancement and

indemnity issues. See Petition ¶¶ 8-9 (requesting declarations that “issues related to

indemnification and advancement must be litigated in Texas,” notwithstanding the pending

proceedings in California on that issue, and that the directors’ (nonexistent) rights to indemnity

be determined “by ATA and SDI in the first instance—not … a court.”). This is the definition

of forum shopping.

       4.      There are obvious “inequities in allowing the declaratory plaintiff to gain

precedent in time or to change forum.” The directors seek to unfairly involve Matthew and

Gretchen in Texas litigation based on indemnification-related contracts that they are not a party

to, while escaping the jurisdiction of a California court where their arguments have not fared

well. “Moreover, any opinion reached by this Court might contradict a ruling in the [California]

court, which could create inequities by giving [the directors] precedence in time and forum

over the parties in the [California] court proceeding.” Accident Ins. Co., Inc. v. Dennis Collier

Constr., LLC, No. 1:20CV191-HSO-JCG, 2021 WL 329898, at *5 (S.D. Miss. Feb. 1, 2021).

       5.      The question of whether this Court “is a convenient forum for the parties and

witnesses” is answered by the directors’ own conduct here: they seek to inconvenience

Matthew and Gretchen Van Steenwyk by forcing them into a forum with which they have no

ties in order to re-litigate a matter already litigated in a forum that the directors never claimed




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was inconvenient in five years in litigation. In fact, at no time during the five years that the

2020 California Case did any defendant make any motion or argument that California was an

inconvenient forum. Similarly, nor has any defendant in the 2024 California Case ever moved

or argued to transfer the case on 28 U.S.C. § 1404(a) grounds. (Decl., ¶¶ 4,5.)

        6.      “[R]etaining the lawsuit would [not] serve the purposes of judicial

economy.” The California court has already decided the central issue presented by the

directors’ declaratory relief action—it is obviously inefficient for a Texas court to entertain

duplicative litigation that covers the very same ground.

        Because every relevant Trejo factor favors dismissal, this case must be dismissed.

        C.      The First-to-File Rule Supports Dismissal As Well

        The first-to-file rule also requires dismissal here. The directors do not dispute that the

California Cases were the first filed—five years before this Texas case. “Under the first-to-file

rule, when related cases are pending before two federal courts, the court in which the case was

last filed may refuse to hear it if the issues raised by the cases substantially overlap.” Zurich

Am. Ins. Co. v. Carter & Carter Constr., LLC, No. 4:22-CV-00196, 2022 WL 17330463, at *3

(E.D. Tex. Nov. 29, 2022) (citation omitted).

        The same facts that support dismissal under the declaratory-relief-dismissal and Trejo

factors justify this Court’s refusal to hear this case.

        Allowing this case to proceed on the same issues in dispute in the California Cases

would waste and duplicate effort, intrude upon the California court’s rulings, and result in

piecemeal decision making that frustrates the purposes underlying the first-to-file rule. The

first-to-file rule thus highlights the impropriety of this case proceeding in Texas.

        Nor can the directors rely on the forum-selection clauses in the so-called Indemnity




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Agreements to survive the first-filed rule. For one thing, as described below, Matthew and

Gretchen are not parties to those Agreements and thus are not bound by their forum-selection

clauses. See infra § II.D. But even if Defendants were bound, those clauses are permissive, not

mandatory: stating merely that the signatories “consent to the jurisdiction of the state or federal

courts in Harris County, Texas and venue in Harris County, Texas” for disputes arising from

the Indemnity Agreements. (Petition Ex. 2, ¶ 16; Petition Ex. 3, ¶ 17.) The Fifth Circuit long-

since established that a clause under which “the parties submit to the jurisdiction of the courts”

of a given state “falls short of being a mandatory forum-selection clause.” Keaty v. Freeport

Indonesia, Inc., 503 F.2d 955, 956-57 (5th Cir. 1974); see also City of New Orleans v.

Municipal Admin. Servs., Inc., 376 F.3d 501, 504 (5th Cir. 2004) (“For a forum selection clause

to be exclusive, it must go beyond establishing that a particular forum will have jurisdiction

and must clearly demonstrate the parties’ intent to make that jurisdiction exclusive.”). 2 Because

it is only “where the parties are bound by a mandatory venue provision” that “the first-to-file

rule must yield,” the first-to-file rule applies with full force despite the permissive forum-

selection clauses in the Indemnity Agreements. See Wildcat Fluids, LLC v. DEL Corp., 2020

WL 12863522, at *6 (S.D. Tex. Dec. 21, 2020) (emphasis added, citation omitted); see also

Sutter Corp. v. P & P Indus., Inc., 125 F.3d 914, 918 (5th Cir. 1997).

        D.     Lack of Personal Jurisdiction Mandates Dismissal

        Defendants are concededly not residents of Texas but, instead, are pled to be residents

of Nevada. (Petition ¶ 17-18). When a nonresident defendant moves the court to dismiss for



2
  Even further from the mark is Plaintiffs suggestion (see Petition ¶ 46) that Section 9(a) of the
Indemnity Agreements provides for exclusive jurisdiction and venue in Texas. That clause
states explicitly that proceedings may occur in any “appropriate court,” whether “in the State
of Texas, or in any other court of competent jurisdiction.” Petition Ex. 2, ¶ 9(a); Petition Ex. 3,
§ 9(a).


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lack of personal jurisdiction, the plaintiff bears the burden of proving that personal jurisdiction

exists. Fielding v. Hubert Burda Media, Inc., 415 F.3d 419, 424 (5th Cir. 2005). This Court

may accept as true only the uncontroverted allegations of Plaintiffs’ Complaint, and only if

those allegations are non-conclusory. Central Freight Lines, Inc. v. APA Transport Corp., 322

F.3d 376, 380 (5th Cir. 2003) . Indeed, the prima facie case requirement does not demand that

this Court credit conclusory allegations, even if they remain uncontroverted. Panda

Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869 (5th Cir. 2001).

       In order for personal jurisdiction to satisfy Due Process requirements, the plaintiff must

show that (1) the defendant purposefully availed himself of the benefits and protections of the

forum state by establishing “minimum contacts” with the forum state, and (2) the exercise of

personal jurisdiction will not offend traditional notions of fair play and substantial justice. See

Moncrief Oil Int’l, Inc. v. OAO Gazprom, 481 F.3d 309, 311 (5th Cir. 2007). Under the

minimum-contacts analysis, the plaintiff may allege either specific or general personal

jurisdiction. Freudensprung v. Offshore Tech. Serv., Inc., 379 F.3d 327, 343 (5th Cir. 2004).

Specific jurisdiction exists when the defendant’s contact(s) are directly related to the cause of

action. See Marathon Oil Co. v. Ruhrgas, 182 F.3d 291, 294 (5th Cir. 1999); see also Moki Mac

River Expeditions v. Drugg, 221 S.W.3d 569, 585 (Tex. 2007) (“[F]or a nonresident defendant’s

forum contacts to support an exercise of specific jurisdiction, there must be a substantial

connection between those contacts and the operative facts of the litigation”) (emphasis added).

General jurisdiction exists “when the nonresident defendant’s contacts with the forum state,

even if unrelated to the cause of action, are continuous, systematic, and substantial.” Marathon

Oil Co., 182 F.3d at 295.

       The Directors have not satisfied their burden. The Petition does not allege that Gretchen




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and Matthew are subject to personal jurisdiction in Texas. The Petition does not allege any

contacts between them and Texas. The only allegation in the Petition that could plausibly be

construed as a jurisdictional one is that the Indemnification Agreements have permissive venue

clauses allowing actions about them to be heard in Texas and that Gretchen and Matthew have

interfered with those venue provisions by litigating these issues in California. (Petition ¶ 48.)

But neither of the Defendants are parties or signatories to the Indemnification Agreements, so

they cannot be bound by those Agreements’ forum-selection clauses. Adams v. Unione

Mediterranea Di Scurta, 364 F.3d 646, 652 (5th Cir. 2004) (applying “well recognized general

rule” that one who “is not a party to the [] contract [] is not bound by the forum selection

clause” therein); Pinto Tech. Ventures, L.P. v. Sheldon, 526 S.W.3d 428, 443 (Tex. 2017) (“As

a general proposition, a forum-selection clause may be enforced only by and against a party to

the agreement containing the clause.”). Put simply, it “goes without saying that a contract

cannot bind a nonparty,” and that should end the matter. EEOC v. Waffle House, Inc., 534 U.S.

279, 294 (2002) (refusing to apply arbitration agreement to non-signatory). As the California

court ruled in rejecting precisely this argument by the directors, “[Matthew] is not a party to

the Indemnification Agreements and, thus, is not bound to their provisions.” ((Decl., Ex. 3 at

25 (rejecting the directors’ argument that Matthew “must make an application in Texas to

invalidate or otherwise limit the Indemnification Agreements,” because “SDI consented to the

jurisdiction of Texas with respect to any proceeding arising under the Indemnity

Agreements”).)

       Even if the Court were inclined to look beyond the Petition—and look at the fact that

Gretchen and Matthew are minority shareholders in SDI, that too is not enough to establish

jurisdiction. Rather, the directors had to plead and establish a tie connecting Gretchen and




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Matthew’s alleged conduct and the forum. They have not done so. General Electric Capital

Corp. v. Posey, 2006 WL 708163 at *1 (N.D. Tex., Mar. 20, 2006) (“[I]n order to demonstrate

that Buysee had minimum contacts with Texas, GECC cannot simply rely on the fact that

Buysee was a director of a corporation with its principal place of business in Texas, but instead

must tie Buysee’s allegedly tortious conduct to the forum.”); see also Rittenmeyer v. Grauer,

104 S.W.3d 725, 727-28 (Tex. App.—Dallas 2003, no pet.). Directors have not and cannot

meet their burden to establish personal jurisdiction and this case should be dismissed.

        E.      Dismissal Is Warranted Due to Improper Venue

        The directors’ Petition posits that venue is proper because “the parties to the

Indemnification Agreements have consented to venue there.” (Petition ¶ 22.) This, however, is

not a basis for proper venue under 28 U.S.C. § 1391(b). Rather, venue is proper if it is in: (1)

a judicial district in which any defendant resides, if all defendants are residents of the State in

which the district is located; (2) a judicial district in which a substantial part of the events or

omissions giving rise to the claim occurred, or a substantial part of property that is the subject

of the action is situated; or (3) if there is no district in which an action may otherwise be brought

as provided in this section, any judicial district in which any defendant is subject to the court’s

personal jurisdiction with respect to such action. 28 U.S.C. § 1391(b).

        Neither Matthew nor Gretchen reside in Texas or have any connection to the state.

(Petition ¶ 17-18). Nor are they parties to the Indemnification Agreements, so they never

submitted to this venue. See supra, § II.D. Moreover, the overwhelming majority of the events

at issue in the California Cases occurred in California: at two grape ranches owned by ATA (a

California corporation located in Paso Robles, California), that supplied wine grapes to ATA’s

controlling shareholders’ California winery, Adelaida Cellars, Inc. Thus, venue is improper and




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this Court should dismiss this case under Rule 12(b)(3).

        F.      The Court May Transfer the Action to the Central District of California

        While the circumstances here demand dismissal, the Court also has the power to

transfer the case to the district in which the first case was filed under the first-to-file rule and

28 U.S.C. § 1404(a). The Fifth Circuit favors the dismissal of declaratory relief actions where

another related case was first-filed elsewhere, but courts also transfer second-filed cases to the

district in which the case was first filed.

        Under 28 U.S.C. § 1404(a), a district court may transfer a civil action to a district court

where it “might have been brought or to any district of division to which all parties have

consented...[f]or the convenience of parties and witnesses [and] in the interest of justice.” Id.

Several factors are considered under Section 1404(a).

        The private interest factors are: “(1) the relative ease of access to sources of proof; (2)

the availability of compulsory process to secure the attendance of witnesses; (3) the cost of

attendance for willing witnesses; and (4) all other practical problems that make trial of a case

easy, expeditious and inexpensive.” Williamson-Dickie Mfg. Co. v. M/V Heinrich J, 762 F.

Supp. 2d 1023, 1027 (S.D. Tex. 2011). The public interest factors are “(1) the administrative

difficulties flowing from court congestion; (2) the local interest in having localized interests

decided at home; (3) the familiarity of the forum with the law that will govern the case; and

(4) the avoidance of unnecessary problems of conflict or laws of the application of foreign

law.” Id.

        Here, most of these factors are resolved by the fact that the 2020 California Case

proceeded to trial with witnesses from California, Texas, and Nevada, applying both California

and Texas law, without complaint of inconvenience. The 2024 California Case involves similar




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   issues, witnesses, and legal sources as well. The events in both cases center on a winery located

    in California and the directors’ and officers’ spending on that winery in breach of their fiduciary

    duties. (Decl., Exs. D, N.) The California court is familiar with both cases and has already

       decided many legal issues, including the core issue presented by this Texas lawsuit. And

       because the forum selection clauses in the indemnity agreements do not apply and are

       permissive not mandatory, see supra § II.D., they do not sway the analysis under Section

       1404(a). Accordingly, the public and private factors favor transfer under Section 1404(a),

       should the Court decline to dismiss this case outright.

III.          CONCLUSION

              “The wholesome purposes of declaratory acts would be aborted by its use as an

       instrument of procedural fencing either to secure delay or to choose a forum.” New Orleans

       Pub. Serv., Inc. v. Majoue, 802 F.2d 166, 168 (5th Cir. 1986) (cleaned up). The directors’

    procedural fencing is designed to thwart the purposes of declaratory relief and secure them a

    new forum. If they wish to seek relief in the existing California cases, they may do so, but they

    cannot proceed here in Texas. This case should be dismissed.

    Dated: March 13, 2025                              Respectfully submitted by,

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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Plaintiffs’ counsel of record were served with a true and

correct copy of the foregoing document by the CM/ECF system on March 13, 2025.


                                             By: /s/ Matthew Donald Umhofer




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